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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MICHAEL WOOD,                                       )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )       1:20-cv-02369
                                                    )
SECURITY CREDIT SERVICES, LLC                       )
d/b/a EQUIPRO INVESTMENTS,                          )
                                                    )
               Defendant.                           )

                DEFENDANT’S STATEMENT OF MATERIAL FACTS IN
               SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Defendant, Security Credit Services, LLC (“SCS”), by and through its undersigned

counsel and pursuant to Local Rule 56.1 hereby submits the following statements of material fact

as to which it contends there is no genuine issue and that entitle it to a judgment as a matter of

law:

   1. Plaintiff Michael Wood (“Wood”), an Illinois resident, incurred a credit card debt (the

       “Debt”) to Pentagon Federal Credit Union (“PenFed”). See Doc. #69 (Second Amended

       Complaint) at ¶¶6, 14; Wood Deposition Trans. at 16:3-7 (admitting credit card was

       issued by PenFed), 41:9-11 (admitting PenFed is the original creditor of the Debt),

       relevant excerpts attached hereto as Exhibit A.

   2. The Debt was charged off by Pen-Fed on August 28, 2014; at the time of charge-off, the

       balance on the Debt was $15,325.47. See Exhibit A at 16:12-21; Declaration of Richard

       Hauft at ¶6, attached hereto as Exhibit B.

   3. Prior to charge-off, PenFed sent monthly billing statements to Wood, including a final

       statement with a closing date of August 18, 2014 that identified the balance of the Debt



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    as $15,325.47. See Exhibit A at 12:1-5 (Wood admits residing at address appearing on

    statements), 12:20-24 (Wood admits receiving billing statements); 30:5-8 (same);

    Exhibit B at ¶¶6-7; id. at Exhibit 1.

4. Wood never notified PenFed there were any billing errors appearing in the monthly

    billing statements sent to him. See Exhibit B at ¶¶8-9; Wood’s Amended Response to

    Interrogatory No. 14 and Request to Produce No. 7, attached hereto as Exhibit C

    (identifying April 26, 2017 letter from Credit Law Center and May 16, 2017 letter from

    PenFed as only communications with PenFed regarding the subject debt); see also

    Exhibit A 30:9-12 (Wood has no recollection of ever disputing or contesting billing

    statements).

5. However, approximately two years and eight months after the Debt was charged off,

    PenFed received a letter from Credit Law Center dated April 26, 2017 that generically

    asserted that Wood disputed the credit information being reported by PenFed for the

    Debt. See Doc. #69 at ¶19; id. at p. 26-28; Exhibit B at ¶10; id. at Exhibit 2.

6. PenFed investigated the dispute and determined the Debt to be valid and accurately

    reported. See Exhibit B at ¶11; see also Doc. #69 at ¶¶29, 33, 48.

7. On or about May 16, 2017, PenFed sent Credit Law Center the results of its dispute

    investigation. See Exhibit B at ¶11; id. at Exhibit 3.

8. Neither Wood nor Credit Law Center ever communicated to PenFed that Wood disagreed

    with the results of PenFed’s investigation which found the Debt to be valid and

    accurately reported. See Exhibit B at ¶¶12-14; see also Exhibit A at 47:23-48:11 (Wood

    has no knowledge of Credit Law Center ever responding to PenFed’s May 16, 2017

    letter), 53:22-54:21 (Wood did not expect Credit Law Center to take any further action



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    and was satisfied with the services provided); Exhibit C at Interrogatory No. 14 and

    Request to Produce No. 7 (identifying April 26, 2017 letter from Credit Law Center and

    May 16, 2017 letter from PenFed as only communications with PenFed regarding the

    subject debt).

9. Wood agrees that he owes an amount on the Debt and has no opinion as to the amount

    owed. See Exhibit A at 51:12-17.

10. Wood claims to have disputed the Debt in April 2017 because the balance “was higher

    than what he remembered it could have been[.]” See Exhibit C at Interrogatory No. 6.

11. At all relevant times, PenFed used Metro 2 Format – a standard data specification

    developed by the Consumer Data Industry Association (“CDIA”) and published in the

    CDIA’s Credit Reporting Resource Guide – to furnish information regarding consumer

    credit accounts to the national credit reporting agencies. See Exhibit B at ¶15.

12. Following PenFed’s investigation into its credit reporting of the Debt, PenFed reported

    the “XH” Metro 2 compliance condition code for the Debt to the national credit reporting

    agencies. See Exhibit B at ¶16.

13. The “XH” compliance condition code is used by PenFed when an account was previously

    disputed under the Fair Credit Reporting Act (“FCRA”) but PenFed’s investigation of the

    dispute resolves the dispute. See Exhibit B at ¶16.

14. At no time did PenFed ever report an “XB” or “XC” Metro 2 compliance condition code

    for the Debt. See Exhibit B at ¶17; see also Exhibit A at 47:10-13 (Wood has no

    personal knowledge of credit reporting codes utilized by PenFed).

15. The “XB” code is used by PenFed when an investigation of an FCRA dispute remains

    pending, while the “XC” code is used by PenFed when PenFed has completed its



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    investigation of an FCRA dispute, but the consumer disagrees with the results of

    PenFed’s investigation. See Exhibit B at ¶17.

16. Wood does not know whether the notation “This item was updated from our processing

    of your dispute in May of 2017” alleged by him to have appeared in connection with

    PenFed’s tradeline for the Debt was a notation added by the credit reporting agency or

    PenFed. See Exhibit A at 61:5-13; Doc. #69 at ¶20; id. at p. 18.

17. On or about July 30, 2018, PenFed sold a pool of charged-off accounts, including the

    Debt, to SCS, pursuant to a written purchase agreement dated July 25, 2018 (the

    “Purchase Agreement”). See Exhibit B at ¶19; Doc. #19-2 (Declaration of Brett

    Soldevila) at ¶6, Exhibit 1; Doc. #69 at ¶23.

18. Pursuant to the Purchase Agreement, PenFed represented and warranted to SCS, among

    other things: (1) that PenFed used commercially reasonable efforts to remove from the

    pool of accounts being purchased accounts with “unresolved disputes”; (2) that every

    account being purchased had been maintained and serviced in full compliance with the

    FCRA; and (3) that PenFed had not omitted any material information relating to the

    accounts being purchased which PenFed had actual knowledge, which omission would

    adversely affect SCS’ ability to seek recovery on the accounts. See Exhibit B at ¶8; Doc.

    #19-2 at ¶7, Exhibit 1; Doc. #69 at ¶41.

19. The aforementioned representations and warranties from PenFed were obtained as a

    result of negotiations between SCS and PenFed. See Kaye Dreifuerst Deposition Trans. at

    53:9-54:2, relevant excerpts attached hereto as Exhibit D.

20. SCS is not interested in purchasing disputed accounts (which accounts are not good for

    business) and negotiated the aforementioned representations and warranties from PenFed



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    in an effort to ensure that it did not purchase any accounts subject to a present dispute.

    See Declaration of Brett Soldevila at ¶¶14-17, a true and accurate copy of which is

    attached hereto as Exhibit E; see also Exhibit D at 34:3-4 (“That’s the business we’re in,

    not purchasing open, unresolved disputes.”) (emphasis added).

21. At all relevant times, the term “unresolved disputes” as used in the Purchase Agreement

    has been understood by both PenFed and SCS to mean disputes that were not resolved to

    the satisfaction of both PenFed and the accountholder. See Exhibit B at ¶21; Exhibit D

    at 58:24-59:7; Exhibit E at ¶18.

22. The term covers accounts for which a dispute investigation has not yet been completed by

    PenFed as well as accounts where the accountholder disagrees with the results of

    PenFed’s investigation. See Exhibit E at ¶18; Exhibit D at 29:4-13, 59:13-18, 80:7-24.

23. PenFed and SCS’ mutual understanding of “unresolved disputes” was achieved through

    “robust” discussions between the entities ahead of executing the Purchase Agreement and

    “best practices” in the debt buying and collection industry. See Exhibit D at 29:14-24,

    32:13-33:18, 81:5-17.

24. PenFed and SCS agreed that Virginia law controls the interpretation of the Purchase

    Agreement. See Exhibit E at Exhibit 3, § 17.7.

25. In connection with the sale of the Debt to SCS, PenFed transmitted an electronic sale file

    to SCS which contained account level information for the Debt. See Exhibit B at ¶22;

    Doc. #19-2 at ¶8; Doc. #69 at ¶24.

26. Information contained in the sale file included among other things: Wood’s name, social

    security number, address, and phone number; the account balance; the charge-off date

    and amount; the last payment date and amount; and the account open date. See Exhibit 4



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    to Exhibit B; Doc. #19-2 at p. 35-44; Doc. #69 at p. 30-39.

27. PenFed did not provide SCS with copies of the April 26, 2017 and May 16, 2017 letters

    identified above, nor did PenFed provide SCS with any historic credit reporting

    information. See Exhibit B at ¶23; Doc. #19-2 at ¶¶9-10.

28. PenFed never notified SCS of Wood’s dispute because PenFed considered it to be

    resolved. See Exhibit B at ¶24; Doc. #19-2 at ¶9; Doc. #69 at ¶33.

29. After purchasing the debt, SCS credit reported the Debt but did not initially communicate

    that the Debt was disputed because SCS did not know that the Debt was disputed until

    SCS received notice of this lawsuit. See Doc. #19-2 at ¶¶11-12.

30. Since July 2018, SCS has purchased over 14,000 accounts from PenFed with similar

    terms to the Purchase Agreement; this lawsuit is the first known instance in which SCS

    purchased an account from PenFed which the accountholder contends is subject to a

    dispute. See Doc. #19-2 at ¶13; Exhibit E at ¶13.

31. SCS relies on the contractual warranties provided by PenFed to conduct its business;

    more specifically, given the contractual warranties by PenFed to exclude unresolved

    disputes as well as SCS’ history with PenFed, SCS did not specifically inquire of PenFed,

    nor conduct an independent investigation into, whether the Debt was disputed prior to

    credit reporting the Debt. See Exhibit D at 20:14-21:15 (“there was at no time any reason

    for us to go back and ask” given terms of contract and history), 23:22-24:21 (“we rely on

    our Purchase and Sale Agreement, sir, to conduct our business.”), 51:8-17 (“Security

    Credit Services is going to rely on the Purchase and Sale Agreement which already states

    there’s not going to be disputed accounts in the sale file.”), 58:12-20 (“[T]hey are a well-

    run business where they have a history of not selling ineligible accounts, and we have an



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    agreement and in writing that they take commercially reasonable efforts to exclude any

    accounts . . . that they shouldn’t sell.”); Exhibit E at ¶19.

32. In addition to relying on the contractual representations of PenFed, SCS also relies upon

    consumers, such as Wood, to advise SCS if an account is disputed. See Exhibit E at ¶20.

33. Despite SCS credit reporting the Debt since September 2018, Wood never once advised

    SCS that the Debt was disputed prior to filing this lawsuit. See Exhibit A at 47:14-16;

    Exhibit E at ¶21.

34. Had Wood advised SCS that the Account was disputed, SCS would have timely notified

    the national credit reporting agencies of the dispute, consistent with its policies and

    procedures. See Exhibit E at ¶22.

35. Specifically, at all relevant times since SCS purchased the Debt, it has been SCS’ policy

    and procedure that when a consumer or a consumer’s representative disputes a debt orally

    or in writing the account must be restricted upon receipt of the dispute with a compliance

    condition code of “XB” in SCS’ Ontario Systems Artiva collection system (“Artiva”).

    See Exhibit E at ¶23.

36. Per CDIA guidelines, which guidelines are followed by SCS, compliance condition code

    “XB” is the code to be used when a consumer disputes a debt pursuant to the Fair Debt

    Collection Practices Act (“FDCPA”). See Exhibit E at ¶¶9-12; id. at Exhibit 2.

37. To carry out the policy referenced in Paragraph 35 above, SCS’ credit reporting staff is

    trained (which training is carried out at least annually) to perform the following steps: (1)

    access the consumer’s account in Artiva; (2) select “perform action[;]” (3) type

    “EOSCAR” in the action code field; and (4) select “set EOSCAR dispute[.]” See Exhibit

    E at ¶24.



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38. Completion of the last step ensures that all future credit reporting for the account will

    automatically include the “XB” compliance condition code. See Exhibit E at ¶24.

39. The aforementioned procedure was followed on April 21, 2020 after SCS became aware

    of the Litigation; and the Debt was first reported as disputed with the “XB” compliance

    condition code no later than May 1, 2020 as a result. See Exhibit E at ¶¶25-27; Exhibit

    D at 76:2-78:17.

40. The “XB” compliance condition code continued to be reported by SCS for the Debt until

    January 2021, at which time SCS requested deletion of the tradeline for the Debt because

    it reached the credit reporting date of obsolescence. See Exhibit E at ¶28, Exhibit 1;

    Exhibit D at 78:3-5.

41. On or about October 2, 2018, SCS placed the Debt for collection with Glass Mountain

    Capital, LLC (“Glass Mountain”). See Exhibit E at ¶30.

42. On October 8, 2018, Glass Mountain returned the Account to SCS with a “LITIGIOUS”

    code. See Exhibit E at ¶31.

43. The “LITIGIOUS” code refers to a public database search that identifies if consumers

    have previously filed lawsuits and are therefore higher risk or litigious. See Exhibit E at

    ¶32.

44. The “LITIGIOUS” code does not have any bearing on, nor provide notice as to, whether

    an account is the subject of a dispute; rather it merely notifies SCS that a consumer has

    filed one or more lawsuits in the past. See Exhibit E at ¶33.

45. The actual damages sought by Wood in this case are comprised of what he paid Credit

    Law Center to help him dispute as well as damages “for how [SCS’] reporting made

    [him] feel.” See Exhibit A at 51:21-52:3.



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46. Wood does not know how much he paid Credit Law Center to send the April 2017 letter

    and does not possess any documents that would show how much he paid. See Exhibit A

    at 52:16-53:2.

47. Per Wood, SCS’ reporting made him “feel angry and frustrated” for a few days after he

    pulled his credit report and “periodically” thereafter causing him anxiety and difficulty

    sleeping but he cannot identify the specific dates of such manifestations. See Exhibit A at

    55:6-57:3, 72:13-23; Exhibit C at Interrogatory No. 16 (claiming suffered “garden

    variety emotional distress” and failing to identify specific dates of claimed distress).

48. Wood never sought medical or professional treatment for his claimed distress and has not

    identified any witnesses who can corroborate his claimed distress. See Exhibit C at

    Interrogatory Nos. 17 and 18.

49. Wood also claims to have received a higher interest rate on a car loan via Capital One as

    a result of SCS’ tradeline; however, nothing about the loan detail report produced by

    Wood suggests that Wood would have obtained a lower interest rate but for SCS’

    tradeline and the loan was applied for more than one year prior to bringing this lawsuit,

    regardless. See Exhibit A at 57:22-59:22, 60:22-61:4; Exhibit D to Wood Deposition

    Trans., attached hereto as Exhibit F (“open date March 23, 2019”); Exhibit C at

    Interrogatory No. 20; Doc. #1 (Original Complaint) (filed March 30, 2020).

50. Wood is an experienced consumer attorney, having filed thousands of FDCPA cases

    himself. See Exhibit A at 62:8-15; Exhibit C at Request to Admit No. 7.

51. At all relevant times, Wood knew how to dispute the Debt with SCS but chose not to. See

    Exhibit A at 47:14-16; Exhibit C at Request to Admit No. 11.

52. Wood does not possess any documentation to support his allegation that his credit score



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    was “materially lowered” as a result of SCS’ reporting. Exhibit A at 48:12-15 (Wood

    does not possess any documents reflecting credit score over the past seven years), 48:24-

    6 (Wood does not possess any documentation to support allegation that SCS “materially

    lowered [his] credit score by failing to communicate [his] dispute”); Doc. #69 at ¶68.

                                  Respectfully submitted,

                                  SECURITY CREDIT SERVICES, LLC

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of September 2022, a true and accurate copy of the

foregoing was filed with the Clerk of Court using the ECF system which will send notification of

such filing to the attorneys of record.


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